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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION




 CONGHAU HUU TO,

                                                         Case No. 8:17-cv-1181-T-17TBM
                                                                 8:94-cr-293-T-17TBM
 v.

 UNITED STATES OF AMERICA,
 ______________________________

                                         ORDER

        This cause is before the Court on pro se Huu To’s 28 U.S.C. § 2255 motion to

 vacate, set aside, or correct an illegal sentence. (Doc. cv-1; cr-669).

        On July 28, 2016, the Eleventh Circuit granted Huu To’s application to file a

 successive motion to vacate on count 7 of his Indictment -- using a firearm during an

 attempted Hobbs Act robbery. (See Doc. cr-667). Huu To then filed the present motion to

 vacate on May 11, 2017.

        Although Huu To received permission from the Eleventh Circuit Court of Appeals to

 pursue a second-or-successive section 2255 motion, this Court must consider the merits

 of Huu To’s claim(s). After doing so, the Court has determined that Huu To’s motion must

 be denied.

                                PROCEDURAL HISTORY

        Huu To was a ringleader of the “V-Boys,” a Vietnamese-American criminal

 enterprise. He personally participated in two robberies and an attempted murder, and
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 helped orchestrate a murder and attempted robbery. United States v. Huu To, et al., 144

 F.3d 737, 743 (11th Cir. 1998). Huu To and his coconspirators were charged in a nine-

 count indictment with racketeering violations, robberies, an attempted robbery, and firearms

 offenses. (Doc. cr-3).

        Relevant here are the attempted robbery and guns that were carried during the

 attempted robbery -- one of which was Huu To’s shotgun. (Presentence Investigation

 Report (“PSR”) ¶¶ 20-23). Those crimes gave rise to count four, attempted Hobbs Act

 robbery, in violation of 18 U.S.C. § 1951(a), and count seven, using a firearm during and

 in relation to a crime of violence, in violation of 18 U.S.C. § 924(c). (Doc. cr-3). A jury found

 Huu To guilty of all counts, including counts four and seven. (Doc. cr-328).

        The Court sentenced Huu To to life imprisonment for his participation in the

 racketeering offenses. (Doc. cr-417). Concurrent to his life term, Huu To received a 240-

 month sentence for the attempted robbery charged in count four and an additional

 consecutive 60-month sentence for the firearms charged in count seven. (Id.).

        Huu To appealed, and the Eleventh Circuit affirmed his judgment and convictions.

 (Docs. cr-418, 531). Soon after, Huu To filed a myriad of unsuccessful collateral attacks.

 (Docs. cr-544, 567, 570, 659, 661). Subsequently, Huu To filed the present motion to

 vacate based on the Supreme Court’s decision in Johnson v. United States, 135 S. Ct.

 2551 (2015).

        In the present Order, the Court addresses only counts four and seven and the facts

 related to those courts. (See United States v. To, et al., 144 F.3d 737 (11th Cir. 1998).)

                                       STATE OF FACTS

        Huu To and others schemed to rob the manager of a restaurant. Ultimately, the

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 group procured guns and decided that three coconspirators should commit the robbery.

 The coconspirators followed the victim and attacked him. After struggling with the victim

 and shooting him twice, a coconspirator fired one last shot. That shot hit the victim directly

 in the chest. The shooter calmly walked back to the group, his shirt covered with blood, and

 got a ride home. A witness later testified at trial that the victim did not have any money. The

 shooter confessed to police that he killed the victim on orders from Huu To and others. The

 murder weapon eventually wound up in Huu To’s possession.

                                 MEMORANDUM OF LAW

        Huu To’s successive section 2255 motion asserts entitlement to relief based on the

 new rule of constitutional law announced in Johnson, 135 S. Ct. 2551. In Johnson, the

 Supreme Court held that the residual clause of the Armed Career Criminal Act (“ACCA”)

 is unconstitutionally vague and that imposing an increased sentence under that provision

 therefore violates due process. Huu To challenges his conviction and sentence for using

 and carrying a firearm during and in relation to a crime of violence, namely, attempted

 Hobbs Act robbery, on the grounds that the risk-of-force clause in 18 U.S.C. § 924(c)(3)(B)

 is unconstitutionally vague under Johnson.

        Section 924(c)(3)(B) defines the term “crime of violence” as a felony offense that “by

 its nature, involves a substantial risk that physical force against the person or property of

 another may be used in the course of committing the offense.” 18 U.S.C. § 924(c)(3)(B).

 While the two clauses are similar, the section 924(c) risk-of-force clause does not suffer

 from the same problems that plagued the ACCA’s residual clause and ultimately led to its

 demise. Nevertheless, the Eleventh Circuit authorized the filing of Huu To’s successive

 section 2255 motion after determining that he had made “a prima facie showing” that his

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 application satisfied the requirements of sections 2255(h) and 2244(b)(3)(C). (Doc. cr-667).

 The Eleventh Circuit’s certification that a prima facie showing has been made is only a

 threshold determination. See Jordan v. Sec’y Dep’t of Corrs., 485 F.3d 1351, 1357-58 (11th

 Cir. 2007). This Court must decide whether Huu To has met the statutory criteria of section

 2255(h). (See id. at 1357 (“the district court not only can, but must, determine for itself

 whether those [§ 2255(h)] requirements are met”); 28 U.S.C. § 2244(b)(4) (“A district court

 shall dismiss any claim presented in a second or successive application that the court of

 appeals has authorized to be filed unless the applicant shows that the claim satisfies the

 requirements of this section.”). In making that determination, this Court owes no deference

 to the Eleventh Circuit’s prima determination that the requirements have been met, and

 instead must conduct a de novo review. Jordan, 485 F.3d at 1357; (Doc. cr-667 at 4-5); see

 also In re Moss, 703 F.3d 1301, 1303 (11th Cir. 2013) (threshold determination by

 appellate court is a “limited determination” and district court must decide “fresh” if the

 requirements of section 2255(h) are met, and, if they are, then consider the merits of the

 motion).

                                       Burden of Proof

        In general, on collateral review the petitioner bears the burden of proof and

 persuasion on each and every aspect of his claim, see In re Moore, 830 F.3d 1268, 1272

 (11th Cir. 2016) (collecting cases), which is “a significantly higher hurdle than would exist

 on direct appeal” under plain error review, see Frady, 456 U.S. at 164-66. Accordingly, if

 this Court “cannot tell one way or the other” whether the claim is valid, then the defendant

 has failed to carry his burden. Moore, 830 F.3d at 1273; cf. United States v. Rodriguez, 398

 F.3d 1291, 1300 (11th Cir. 2005) (in plain error review, “the burden truly is on the defendant

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 to show that the error actually did make a difference … Where errors could have cut either

 way and uncertainty exists, the burden is the decisive factor in the third prong of the plain

 error test, and the burden is on the defendant.”).

        Huu To cannot meet his heavy burden because his claim is not valid. Huu To’s

 motion is untimely; although he has survived section 2255(h)’s high hurdle, he cannot rely

 on Johnson to refresh his one-year statutory filing deadline. 28 U.S.C. § 2255(f)(3). His

 claim is also meritless. First, attempted Hobbs Act robbery is a crime of violence under

 section 924(c)’s use-of-force clause, 18 U.S.C. § 924(c)(3)(A). Lastly, Huu To’s

 contemporaneous conviction qualifies under the recently-validated risk-of-force clause.

 Ovalles v. United States, 861 F. 3d 1257, 1263 (11th Cir. 2017) (void-for-vagueness

 doctrine does not extend to section 924(c)(3)(B)).

                                         Timeliness

        A defendant may file a second-or-successive section 2255 motion if he first obtains

 a certification from the court of appeals allowing another motion. 28 U.S.C. § 2255(h). But

 even if a successive movant passes through the section 2244 portal, he still must establish

 that his motion was timely filed within one year of “the date on which the right asserted was

 initially recognized by the Supreme Court, if that right has been newly recognized … and

 made retroactively applicable to cases on collateral review.” See 28 U.S.C. § 2255(f)(3).

 Huu To cannot rely on 28 U.S.C. § 2255(f)(3).

        Because Johnson does not establish the right Huu To is asserting, his claim fails to

 meet the strict limitations of section 2255(f)(3). He is not challenging a sentence imposed

 under the ACCA, whose statutory definition was affected by Johnson. Instead, he is

 challenging a conviction under section 924(c). The Supreme Court has not addressed

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 whether section 924(c)(3)(B) is unconstitutionally vague, let alone held that it is. Although

 the Supreme Court might someday hold that the definition of “crime of violence” in section

 924(c) is unconstitutionally vague, thereby granting prisoners convicted of violating section

 924(c) a new year in which to challenge their convictions, it has not yet done so.

                                         Cognizability

        Huu To’s Johnson-based challenge to his conviction and sentence is cognizable

 because it alleges that his sentence was imposed “in violation of the Constitution … of the

 United States.” See 28 U.S.C. § 2255(a).

                                     Procedural Default

        Huu To asserts that, in light of Johnson, his section 924(c) conviction is erroneous.

 This claim is procedurally defaulted. “Under the procedural default rule, a defendant

 generally must advance an available challenge to a criminal conviction or sentence on

 direct appeal or else the defendant is barred from presenting that claim in a § 2255

 proceeding.” Lynn v. United States, 365 F.3d 1225, 1234 (11th Cir. 2004) (citing McCoy v.

 United States, 266 F.3d 1245, 1258 (11th Cir. 2001)). Claims that are ripe for direct appeal

 but not raised are procedurally defaulted, and may not be raised for the first time in a

 motion to vacate under section 2255. Lynn, 365 F.3d at 1234. “This rule generally applies

 to all claims, including constitutional claims.” Id. (citing Reed v. Farley, 512 U.S. 339, 354

 (1994)).

        A movant may avoid a procedural default either by showing (1) cause for and

 prejudice from the default, or (2) that “a constitutional violation has probably resulted in the

 conviction of one who is actually innocent.” Lynn, 365 F.3d at 1234 (quoting Murray v.

 Carrier, 477 U.S. 478, 496 (1986)). Huu To does invokes the “actual innocence” exception

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 in his motion and, but his claim is one of legal innocence of his section 924(c) conviction,

 not factual innocence. (See Doc. cv-1 at 2); McKay v. United States, 657 F.3d 1190, 1198

 (11th Cir. 2011).

        “[T]o show cause for procedural default, [a movant] must show that some objective

 factor external to the defense prevented [him] or his counsel from raising his claims on

 direct appeal and that this factor cannot be fairly attributable to [the movant’s] own

 conduct.” Lynn, 365 F.3d at 1235 (citing Smith v. Jones, 256 F.3d 1135, 1145 (11th Cir.

 2001)). The movant must also show that “actual prejudice” resulted from the claims’ not

 being raised on direct appeal. Lynn, 365 F.3d at 1234 (citing Bousley v. United States, 523

 U.S. 614, 622 (1998)).

        Huu To has double defaulted on his Johnson claim. He did not challenge section

 924(c)(3)(B)’s risk-of-force clause in the district court. (See Doc. cr-483 at 5-17. Moreover,

 while Huu To did appeal his convictions and sentences, he did not challenge the risk-of-

 force clause. See United States v. Huu To, et al., 144 F.3d 737 (11th Cir. 1998); see also

 Doc. cv-3 at 5.

        Huu To’s default cannot be avoided because he has not -- and, in any event, could

 not -- establish cause and actual prejudice. He could not establish cause because no

 external factor impeded his efforts to comply with the procedural default rule. Huu To

 identifies no impediment to challenging the risk-of-force clause on direct appeal. Indeed,

 here he does not assert ineffective assistance on appeal. (See Civ. Doc. cv-1.)

        Moreover, he cannot rely on Johnson to establish cause because the decision’s

 basis is not so novel that it would not have been reasonably available to his counsel. See

 Reed v. Ross, 468 U.S. 1, 16 (1984). The type of novelty required is more than a showing

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 that circuit precedent foreclosed the claim at the time of direct review. See Engle v. Isaac,

 456 U.S. 107, 130 n.35 (1982) (“Futility cannot constitute cause if it means simply that a

 claim was unacceptable to that particular court at that particular time.”).

        At each prior stage in the proceedings, Huu To could have asserted that the risk-of-

 force clause is unconstitutionally vague, just as Samuel Johnson did with respect to the

 residual clause of the ACCA, and just as defendants have done in numerous other cases.

 See, e.g., United States v. Johnson, 570 F. App’x. 852, 856 (11th Cir. 2014); United States

 v. Gandy, 710 F.3d 1234, 1239 (11th Cir. 2013); see also United States v. Hudson, 673

 F.3d 263, 268-69 (4th Cir. 2012). He did not do so.

        Huu To also cannot establish that the failure to raise his claim would have worked

 to his actual and substantial disadvantage because, as detailed below, his Johnson claim

 is meritless. See United States v. Frady, 456 U.S. 152, 170 (1982) (actual prejudice

 requires “not merely that the errors at his trial created a possibility of prejudice, but that

 they worked to his actual and substantial disadvantage, infecting his entire trial with error

 of constitutional dimensions.”) Therefore, this Court ultimately need not reach the merits

 of his Johnson claim.

                                            Merits

        On the merits, Huu To is not entitled to relief. Huu To’s conviction for attempted

 Hobbs Act robbery satisfies both the use-of-force clause and the risk-of-force clause in

 section 924(c)(3).

                                    Use-of-force Clause

        Attempted Hobbs Act robbery categorically qualifies as a crime of violence under

 section 924(c)(3)(A). Hobbs Act robbery is “the unlawful taking or obtaining of personal

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 property from the person or in the presence of another, against his will, by means of actual

 or threatened force, or violence, or fear of injury, immediate or future, to his person or

 property.”1 18 U.S.C. § 1951(b)(1). The Eleventh Circuit recently held that “Hobbs Act

 robbery … clearly qualifies as a ‘crime of violence’ under the use-of-force clause in §

 924(c)(3)(A)” because the elements of that crime include the use, attempted use, or

 threatened use of physical force against the person or property of another. In re Saint

 Fleur, 824 F.3d 1337, 1340-41 (11th Cir. 2016); see also In re Gordon, 827 F.3d 1289,

 1294 (11th Cir. 2016) (holding, based on Saint Fleur, that a Hobbs Act robbery conviction

 is a crime of violence under the elements clause of section 924(c)(3)(A)); In re Colon, 826

 F.3d 1301, 1305 (11th Cir. 2016) (holding that defendant’s aiding and abetting Hobbs Act

 robbery “clearly qualifie[d] as a ‘crime of violence’ under the use-of-force clause in §

 924(c)(3)(A).”). Saint Fleur is binding precedent, even though it arose in the context of an

 application to file a second or successive section 2255 motion. See In re Lambrix, 776 F.3d

 789, 794 (11th Cir. 2015) (“To be clear, our prior-panel-precedent rule applies with equal

 force as to prior panel decisions published in the context of applications to file second or

 successive petitions.”).

        Other courts likewise have held, both before and after Johnson, that Hobbs Act

 robbery qualifies as a crime of violence under section 924(c)’s use-of-force clause. See



        1
          The Hobbs Act criminalizes both the use of extortion and the use of robbery to
 affect commerce, see 18 U.S.C. § 1951(a). The indictment in this case charged robbery by
 physical force and threats of physical force, not extortion, and Huu To was found guilty of
 committing attempted robbery. (See Doc. cr-3 at 14 (charging that Huu To had attempted
 to take property “by means of actual and threatened force, violence, and fear of injury”);
 (Doc. cr-328). Huu To does not dispute that this case involves robbery and not extortion.


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 United States v. Anglin, 846 F.3d 954, 965 (7th Cir.) (“Hobbs Act robbery is a ‘crime of

 violence’ within the meaning of § 923(c)(3)(A).”), petition for cert. docketed, No. 16-9411

 (U.S. May 31, 2017); United States v. Gooch, 850 F.3d 285, 291-92 (6th Cir.) (citing cases

 and joining five other Circuits that have ruled that Hobbs Act robbery constitutes a crime

 of violence under section 924(c)(3)(A)), cert. denied, No. 16-9008, 2017 WL 1807389 (U.S.

 June 5, 2017); United States v. Mendez, 992 F.2d 1488, 1491 (9th Cir. 1993) (observing

 that substantive Hobbs Act robbery “indisputably qualifies as a crime of violence” because

 it “contain[s] [an] element of ‘actual or threatened force, or violence’”).

        These decisions make sense because, by its plain terms, Hobbs Act robbery

 requires the use of “actual or threatened force, or violence, or fear of injury, immediate or

 future, to his person or property” or to the person or property of someone in his company

 at the time of the taking. 18 U.S.C. § 1951. Thus, it has as an element “the use, attempted

 use, or threatened use of physical force against the person or property of another,” 18

 U.S.C. § 924(c)(3)(A).

        Moreover, even though a person may commit Hobbs Act robbery by putting a victim

 in “fear of injury, immediate or future” to his person or property, and even though this

 Court’s jury instructions defined “fear” to include “the fear of economic loss as well as fear

 of physical violence,” see doc. cr-326 at 24, the Supreme Court has made clear that the

 use of the categorical approach to determine whether a particular predicate conviction

 constitutes a crime of violence “requires more than the application of legal imagination to

 [the] ... statute’s language.” Gonzales v. Duenas-Alvarez, 549 U.S. 183, 193 (2007). There

 must be “a realistic probability, not a theoretical possibility,” that the statute at issue could

 be applied to conduct that does not constitute a crime of violence. Id.

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        That Huu To’s conviction is for attempted Hobbs Act robbery is of no moment. It is

 clear that attempted Hobbs Act robbery qualifies as a violent felony under the use-of-force

 clause just as Hobbs Act robbery does. Indeed, the language of the clause itself states that

 a violent felony is a crime that “has as an element the use, attempted use, or threatened

 use of physical force… .” 18 U.S.C. § 924(c)(3)(A) (emphasis added); see also 18 U.S.C.

 § 924(e)(2)(B)(i) (analogous ACCA provision). Numerous courts, including the Eleventh

 Circuit, have concluded that attempted robbery, under various state statutes, qualifies as

 a crime of violence pursuant to ACCA’s “elements” clause. See United States v. Lockley,

 632 F.3d 1238, 1245 (11th Cir. 2011) (finding that attempted robbery satisfied the elements

 clause of the analogous “crime of violence” provision of the Sentencing Guidelines);2 United

 States v. Thomas, 13 F. App’x. 233, 241 (6th Cir. 2001) (unpublished); United States v.

 Harrington, 370 F. App’x. 216, at *4 (2d Cir. 2010) (unpublished); United States v. Mansur,

 375 F. App’x. 458, 463–64 (6th Cir. 2010) (unpublished); United States v. Johnson, 526 F.

 App’x 708 (8th Cir. 2013), reversed and remanded on other grounds, Johnson v. United

 States, 135 S. Ct. 2551 (2015).

        This Circuit and others have applied the fear-of-financial-loss definition only in the

 context of Hobbs Act extortion, not when a violent armed robbery is at issue. See, e.g.,

 United States v. Flynt, 15 F.3d 1002, 1007 (11th Cir. 1994) (a Hobbs Act extortion offense



        2
           The definitions of “violent felony” in the ACCA and “crime of violence” in the
 Sentencing Guidelines are “virtually identical.” United States v. Taylor, 489 F.3d 1112, 1113
 (11th Cir. 2007), vacated on other grounds, 555 U.S. 1132 (2009). Accordingly, because
 the two terms are so similar, cases concerning one definition “provide important guidance”
 concerning the other. United States v. Archer, 531 F.3d 1347, 1350 n.1 (11th Cir. 2008).



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 occurs when a defendant exploits a victim’s reasonable fear of economic loss); United

 States v. Haimowitz, 725 F.2d 1561, 1572 (11th Cir. 1984) (upholding Hobbs Act extortion

 conviction based on victim’s fear that defendant would interfere with his ability to get a

 liquor license for his supper club); United States v. Rastelli, 551 F.2d 902, 904 (2d Cir.

 1977) (“The defendants’ conduct in this case in intentionally creating in their victims a fear

 of economic loss if the victims failed to ‘kickback’ constituted extortion.”); United States v.

 Iozzi, 420 F.2d 512, 514 (4th Cir. 1970) (“Consequently, we hold that obtaining money

 through the fear of economic injury induced by threats or force constitutes extortion under

 the Act.”); United States v. Kramer, 355 F.2d 891, 897 (7th Cir.) (“Conduct that brings about

 a state of mind of fear of financial loss constitutes extortion under the Hobbs Act.”), vacated

 in part on other grounds, 384 U.S. 100 (1966). The “fear of injury” required to establish a

 section 1951(b)(1) robbery offense is the fear of injury from the use of force, not from the

 possibility of financial harm. United States v. Pena, 161 F. Supp. 3d 268, 281 (S.D.N.Y.

 2016) (explaining that the text and history of the Hobbs Act establishes that section

 1951(b)(1) robbery requires at least a showing of an unlawful taking by putting the victim

 in fear of injury from the use of force). Consequently, Huu To’s attempted Hobbs Act

 robbery here constitutes a crime of violence for purposes of section 924(c)(3)(A).

                                    Risk-of-force Clause

        Huu To’s attempted Hobbs Act robbery conviction also clearly satisfies the risk-of-

 force clause. On June 30, 2017, the Eleventh Circuit issued its decision in Ovalles, holding

 that “Johnson’s void-for-vagueness ruling does not apply to or invalidate the ‘risk-of-force’

 clause in § 924(c)(3)(B)” because it “simply do[es] not suffer from the uncertainties found



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 by the Supreme Court in § 924(e) cases.” 2017 WL 2829371, at *7, 8.3 With the risk-of-

 force clause validated, Huu To’s argument cannot succeed.

        Hobbs Act robbery “by its nature, involves a substantial risk that physical force

 against the person or property of another may be used in the course of committing the

 offense.” 18 U.S.C. § 924(c)(3)(B). It therefore qualifies as a “crime of violence” under the

 risk-of-force clause as well as under the use-of-force clause. See, e.g., United States v.

 Quashie, 2016 WL 638052, at *5 (E.D.N.Y., Feb. 17, 2016) (“Even if a Hobbs Act robbery

 does not fall within the force clause of the statute, it would fall within the residual clause,”

 which “is not unconstitutionally vague.”); see also, e.g., United States v. Green, No. RDB-

 15-0526, 2016 WL 277982, at *3-4 (D. Md., Jan. 22, 2016); United States v. Walker, No.

 3:15cr49, 2016 WL 153088, at *8-9 (E.D. Va., Jan. 12, 2016); United States v. Morgan, No.

 14-20610, 2015 WL 9463975, at *8 (E.D. Mich. Dec. 18, 2015); United States v. McDaniels,

 2015 WL 7455539, at *6-7 (D. Me. Nov. 23, 2015).

        Nothing in Huu To’s reply convinces this Court that his § 2255 motion has any merit.

        Accordingly, the Court orders:

        That Huu To’s 28 U.S.C. § 2255 motion to vacate, set aside or correct an illegal

 sentence (Doc. cv-1; cr-669) is denied. The Clerk is directed to terminate any pending

 motions, to enter judgment for the Government and to close this case.

                         CERTIFICATE OF APPEALABILITY AND

                   LEAVE TO APPEAL IN FORMA PAUPERIS DENIED



        3
          The Eleventh Circuit has withheld the mandate in Ovalles, but nonetheless, its
 decision is currently binding on this Court.


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        The Court declines to issue a certificate of appealability pursuant to Rule 11(a) of

 the Rules Governing Section 2254 Cases in the United States District Courts because

 Petitioner has failed to make a substantial showing of the denial of a constitutional right as

 required by 28 U.S.C. § 2253(c)(2).

        Because Petitioner is not entitled to a certificate of appealability, Petitioner is not

 entitled to appeal in forma pauperis. Petitioner is required to pay the $505.00 appellate

 filing fee unless the appellate court grants Petitioner in forma pauperis status on appeal.

        ORDERED at Tampa, Florida, on August 17, 2017.




 Counsel of Record
 Conghau Huu To




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